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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

BROCK FELT,
Plaintiff,
¥.

LIFE WITHOUT LIMITS, INC.,
Defendant,
and

MARK BECK,
Defendant,
and

JASHIN HOWELL
Defendants,
And

TANYA HOWELL
Defendant,
And,

AGENTS CHOICE GLASS, LLC,
A/K/A AGENTS CHOICE, LLC, D/B/A
MARQI FITNESS

Defendant,

And
HEALTH & WELLNESS

SOLUTIONS, LLC,
Defendant,

And,

NLITEN ENTERNATIONAL, LLC,
Defendant. ~~

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CIVIL ACTION NO. 8 obty Sbixfi fT map

JURY DEMAND
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COMPLAINT

Plaintiff Brock Felt, by and through his undersigned counsel, files this complaint
pursuant to the Federal Rules of Civil Procedure against Defendants, Life Without Limits, Inc.,
Mark Beck, individually, Jashin Howell, individually, Tanya Howell, individually, Agents
Choice Glass, LLC, a/k/a Agents Choice, LLC, d/b/a Marai Fitness, Health & Wellness
Solutions, LLC and NLiten Fitness, LLC states as follows:

PARTIES

i. Plaintiff, Brock Felt (hereinafter “Feit”) is a natural person residing in the State of
Florida.

2. Defendant, Life Without Limits, Inc. (hereinafter “LWL”) is a corporation formed
under the laws of Arizona and has its principal place of business in Arizona. See attached
Exhibit “1”. Upon information and belief, at all times relevant hereto, Defendant, LWL has had
substantial contacts in Florida.

3. Defendant, Mark Beck (hereinafter “Beck”) is a natural person who resides in
Cache County, Utah. Upon information and belief, at all times relevant hereto, Defendant, Beck
has had substantial contacts in Florida.

4, Defendants, Jashin Howell is a natural person residing in Maricopa County,
Arizona. Upon information and belief, at all times relevant hereto, Defendant, Jashin Howell

5. Defendant, Tanya Howell is a natural person residing in Maricopa County,
Arizona. Upon information and belief, at all times relevant hereto, Defendant, Tanya Howell has
had substantial contacts in Florida.

6. Defendant, Agents Choice Glass, LLC a/k/a Agents Choice, LLC d/b/a Marqi

Fitness (hereinafter “Agents”) is an Arizona limited liability company with its principal place of
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business in Arizona. See attached Exhibit “2”. Upon information and belief, at ail times relevant
hereto, Defendant, Agents Choice has conducted substantial business in Florida.

7. Defendant, Health and Wellness, LLC (hereinafter “H & W) is a Utah corporation
that is registered as an Arizona limited liability company with its principal place of business in
Arizona. See attached Exhibit “3”. Upon information and belief, at all times relevant hereto,
Defendant, Health & Wellness, through its managing members, Defendant, Jashin Howell and
Defendant, Beck, has conducted substantial business in Florida.

8. Defendant, Nliten, LLC (hereinafter “NLiten) is an Arizona limited liability
company with its principal place of business in Arizona. See attached Exhibit “4”. Upon
information and belief, at all times relevant hereto, Defendant, Nliten has conducted substantial
business in Florida.

JURISDICTION AND VENUE

 

9, This is an action arising under the Lanham Act, 15 U.S.C. § 1125(a).

10. This Court has federal question jurisdiction over these claims pursuant to 15
U.S.C. § 1121, and 28 U.S.C. §§ 1331, 1338(a) and 1338(b).

11. The Court has subject matter jurisdiction over the plaintiffs’ supplemental state
law claims pursuant to 28 U.S.C. § 1367(a).

12. Defendants, LWL, Mark Beck, Jashin Howell, Tanya Howell, Agents Choice,
Health & Wellness and NLiten are subject to the personal jurisdiction of this Court because,
among other things, upon information and belief, at all times relevant hereto, each is an

individual and/or entity that has had substantial contacts in Florida.

 
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13. In addition, all Defendants are subject to the personal jurisdiction of this Court
because, among other things, a substantial part of the events giving rise to this litigation occurred
in the State of Florida.

14. In addition, ail Defendants are subject to the personal jurisdiction of this Court
because, among other things, all of the Defendants are subject to Florida’s jong-arm statute.

15. In addition, all defendants are subject to the personal jurisdiction of this Court
because, among other things, upon information and belief, each of the Defendants has transacted
or is presently transacting business in the State of Florida by: (a) providing Internet users access
to its Florida-based web sites; (b) contracting with, or attempting to contract with, Florida
residents for the sale of goods, including the sale of nutritional supplements on its Florida-based
Internet web sites; (c) selling or attempting to sell goods or services to residents of the State of
Florida; and/or (d) comrnitting tortuous acts in the State of Florida.

16. Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c) because a
substantial part of the events giving rise to the claims occurred in this district and because all of
the Defendants are subject to personal jurisdiction in this district and because diversity of
citizenship exists as between Plaintiff, Felt and all of the Defendants and because the amount in

controversy exceeds the minimum jurisdictional limits of $75,000.
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GENERAL FACTS

17, Plaintiff, Felt is engaged in various business activities related to the development
and sale of products and services, including nutritional supplements. At all times relevant hereto,
Plaintiff markets his products through a variety of channels, including the Internet, through
distributors, and through retailers.

18. At all times relevant hereto, Plaintiff, Felt‘s goods and/or services were sold in
interstate commerce.

19. Defendants’ actions and/omissions complained of in this Complaint affect
interstate commerce.

20. Plaintiff, Felt has invested substantial sums of money in order to research and
develop nutritional supplements and to market and advertise the same. In the course of that
long-standing and ongoing effort, Plaintiff has developed substantial good will in the
marketplace and as between Plaintiff and the suppliers of goods and services as well as
distributors, retailers, and consumers.

21. Plaintiff, Felt has been careful, skillful and meticulous in the conduct of his
nutritional supplements sales and business activities.

22. As aconsequence, and as a result of the substantial sales and expense of
advertising and promotion of the plaintiff's nutritional supplements, products sold by Plaintiff
have acquired a fine reputation and are famous among previous and prospective purchasers.

FACTS COMMON TO ALL COUNTS

23. By way of an agreement dated March 16, 2005, Plaintiff and Defendants agreed

to do business under the name of Agents Choice Glass, LLC dba Marqi Fitness. See attached

Exhibit “5”.
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24. As owners of Agenis, Plaintiff, Felt, and Defendants, Jashin Howell, and Beck
sold herbal-based products, including Nitetrim and BetaFuel, by way of online marketing.

25. Atall times relevant hereto, Plaintiff, Felt performed all web development in
Florida and all domain names that were maintained by Agents for marketing purposes were
registered in Florida. In fact, at all times relevant hereto, the domain name used for Defendant,
Agents Choice d/b/a Margi Fitness, was registered in Florida.

26.  Atall times relevant hereto, Plaintiff, Felt developed and registered intellectual
property in Florida on behalf of Defendant, Agents Choice, Plaintiff, Felt in concert with
Defendants, Jashin Howell and Beck established and maintained offices in Florida and all of the
groundwork for the development of Defendant’ Agents Choice was performed in Florida.

27. Atall times relevant hereto and pursuant to their original agreement attached
hereto as Exhibit “5”, Plaintiff, Felt owned 60% of Agents and Defendants, Jashin Howell and
Beck owned 20% of Agents, respectively. Between May 24, 2005 and September 23, 2005,
Defendants, Jashin Howell and Beck failed or refused to send the money that was owed to
Plaintiff, Felt in Florida pursuant to the terms set forth in Exhibit “5” attached hereto.

28. At all times relevant hereto, Plaintiff, Felt was acknowledged to be and was also
the sole owner of Defendant, Agent’s customer database and Defendants, Jashin Howell and
Beck had agreed that neither Defendant, Jashin Howell nor Defendant, Beck would market or
sell any products besides Nitetrim and BetaFuel to existing customers of Plaintiff, Felt during or
after the termination of the relationship.

29. + Ataill times relevant hereto, Defendants, Jashin Howell, Tanya Howell and Beck

set about to convert profits and property of Plaintiff, Felt for their own use and enjoyment.
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30. At all times relevant hereto, Defendants, Jashin Howell, Tanya Howell and Beck,
wrongfully and improperly converted profits and property of Plaintiff, Felt, for their own use and
enjoyment which enabled the Defendants to establish new business ventures that Defendants are
enjoying on an ongoing basis at the expense of Plaintiff, Felt.

31. Defendants, Jashin Howell, Tanya Howell and Beck used Defendants, LWL and
Agents Choice Glass, LLC as agents or joint tortfeasors in their scheme against Plaintiff, Felt
ignoring Plaintiff, Felt’s status as a co-owner of Defendant, Agents and ultimately wrongfully
removing Plaintiff, Felt altogether as a registered principle owner of Defendant, Agents in favor
of Defendant, Tanya Howell without cause and without compensation. See Exhibit “6”.

32. Defendants, Jashin Howell, Tanya Howell and Mark Beck, inter alia, converted
Felt’s customer lists, websites, web content, customers and profits as well as Plaintiff, Felt’s
ownership interest in Defendant, Agent’s Choice and other proprietary information for their own
use and benefit.

33. Defendants failed or refused to give proper atiribution or notice of the true
ownership rights in the copyrighted advertising, websites, or trademarks during their scheme to
convert Felt’s property and profits. Rather, Defendants’ websites stated or inferred that they were
the owner of ali copyright and trademark rights in the advertisements and trademarks that
appeared on Defendants’ respective websites.

COUNT I
CYBERSQUATTING

34. Plaintiff incorporate the allegations of paragraphs 1 through 33 of this complaint
as if the same fully set forth at length herein.
35. Defendants diverted customers and potential customers of Felt to their websites

by using Internet domains which are identical to or confusingly similar to Felt’s Internet
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domains. For example, Defendants used the name Marqi Nutrition for a credit card merchant
account name that is confusingly similar or identical to Margi Fitness, a domain name owned by
Plaintiff.

36. At various times, when any of Felt’s URLs were typed into an Internet browser,
the browser automatically redirected the user to the Defendants’ sites because of Defendants’ use
of “metatags” to divert such traffic.

37. Defendants’ websites sell products that compete with, are identical to, or are, in
fact, Plaintiff Felt’s products,

38. Defendants’ acts were malicious, intentional and for the purpose of harming
Plaintiff.
39. Plaintiff has suffered economic harm as a direct result of the acts of the
Defendants.

COUNT II
UNFAIR COMPETITION UNDER SECTION 43 OF THE LANHAM ACT

 

40. _ Plaintiff incorporate the allegations of paragraphs 1 through 39 of this complaint
as if the same fully set forth at length herein.

41. Despite termination of their authority to do so, Defendants continued to use
Plaintiff, Felt’s marks in advertising without notification to the public as to the fact that Plaintiff,
Felt was the true owner and /or licensee. Defendants used Plaintiff, Felt’s copyrighted material as
content for their websites without notification to the public as to the fact that Plaintiff, Felt was
the true owner and/or licensee.

42. The Defendants, in fact, used Plaintiff's marks in advertising, in offering for sale,
and selling products with knowingly false notification to the public that the Defendants,

respectively, were the owners of the marks.
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43. The actions of the Defendants were without consent of the Plaintiff, were in
violation of Plaintiff's rights and were likely to, and did, cause damage to the Plaintiff.

44. The Defendants’ use of Plaintiff's marks with Defendants’ notice and claim to the
public of Defendants’ ownership of said marks was likely to cause confusion, or to cause
mistake, or to deceive the consumer and did cause confusion and mistake.

45. The Defendants’ unauthorized use of Plaintiff's marks and wrongful claim of
ownership of said marks was done willfully and knowingly in violation of Plaintiff's rights.

46. The actions of the Defendants in using Plaintiff's marks and claiming ownership
of those marks constitutes false designation of origin and false and misleading representation of
fact which is likely to cause confusion, or to cause mistake, or to deceive as to the affiliation,
connection or association of the Defendants with the Plaintiff, or as to the origin, sponsorship, or
approval of Defendants by the Plaintiff.

47. The Defendants’ use of the marks, and their wrongful claim of ownership of such
marks, was done willfully and knowingly in violation of Plaintiffs rights.

48. The Defendants’ actions were committed with the purpose and intent of
misappropriating and trading upon the goodwill and reputation associated with Plaintiff's marks.

49. Asaresult, the Plaintiff's rights in and to the marks has been and is compromised
and the Defendants have used the marks in a manner to unfairly compete with the Plaintiff.

50. The Defendants’ actions have caused Plaintiff to sustain monetary losses and
other damage and injury.

51.‘ The Plaintiff is entitled to damages for the acts of unfair competition of the
Defendants under 15 U.S.C. § 1117, the amount of which to be determined by an accounting and

subject to proof at trial.
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52. The Defendants’ actions have caused and wilt continue to cause irreparable
damage, loss and injury to Plaintiff.

53. The Plaintiff is also entitled to an award of treble damages for the Defendants’
willful acts under 15 U.S.C. § 1117.

54. The Defendants’ conduct is wrongful, malicious, fraudulent, deliberate, willful
and intentional, thereby making this case exceptional, and the Plaintiff is, therefore, entitled to
recover costs of this action and attorneys fees under 15 U.S.C. § 1117.

COUNT HI
SECTION 43(a) ADDITIONAL LANHAM ACT VIOLATIONS

55. Plaintiff repeats and re-alleges the allegations set forth above in paragraphs 1
through 54 as if the same fully set forth at length herein.

56. Defendants, in carrying out the acts and representations alleged above, made
materially false, fraudulent, and/or malicious representations to Plaintiff's customers, prospective
customers, and affiliates that Plaintiff's goods and/or services were of inferior quality and/or
were not capable of meeting the specifications of Plaintiff's customers, and/or potential
customers and that Plaintiff was paid monies for affiliates but failed or refused to pay said
monies over to affiliates.

57, The wrongful! representations and acts by Defendants deceived, and/or had the
capacity to deceive, a substantial segment of the recipients of such representations and/or acts.

58. The wrongful representations and acts by Defendants were made in commercial
advertising and promotion, and misrepresented the nature, characteristics and qualities of the
Plaintiffs goods and services.

59. These wrongful representations constitute false description and representation in

violation of Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a).
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60. —— Plaintiff has suffered injury to his reputation, loss of goodwill, and loss of trade as
a result of Defendants’ actions complained of in this Count.

61. Plaintiff, Felt has suffered monetary damages because of his loss of trade.

62. Plaintiff, felt has incurred and continues to incur attorneys’ fees and costs in
prosecuting this action.

COUNTIV
TRADE LIBEL (DEFAMATION)

63 Plaintiff repeats and re-alleges the allegations set forth above in paragraphs I
through 62 as if the same fuily set forth at length herein.

64. Defendants have falsely and unfairly stated that Plaintiff, Felt was not tending to
his business or servicing his customers and/or his marketing affiliates. Such false and unfair
statements were stated in a manner calculated to imbue the recipient with the belief that Plaintiff,
Felt was derelict in his business.

65. The statements described above as false, were not statements of opinions, but of

66. Defendants have falsely and unfairly stated that the Plaintiff did not pay his
respective vendors and/or affiliates. Such statements were calculated to discourage vendors and
affiliates from transacting business with the plaintiff.

67. Defendants have falsely and unfairly implied dishonesty and unfair dealing by the
Plaintiff by publishing the allegation that Plaintiff does not assist customers who return products
or pay affiliates.

68. By reason of the aforesaid acts, Plaintiff has lost prospective customers and

affiliates and the terms of dealing with one or more vendors and/or affiliates have been
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materially changed by the vendors/ affiliates, and/or the vendor’s/ affiliate’s relationship with the
Plaintiff has been terminated, resulting in actual economic harm to the Plaintiff.

69. Defendants defamed Plaintiff by making blatantly false statements to the general
public, Plaintiff's customers, and other business contacts.

70. Defendants were not privileged to publish their false oral and written statements.

71. Defendants’ defamatory actions have proximately caused damage to Plaintiff.

COUNT V
WRONGFUL INTERFERENCE WITH PROSPECTIVE
CONTRACTUAL OR BUSINESS RELATIONSHIP

72. Plaintiff, Felt repeats and re-alleges the allegations set forth above in paragraphs |
through 71 as if the same were fully set forth at length herein.

73. Defendants have tortuously and wrongfully interfered with Plaintiff's prospective
business and contractual relations with their vendors, affiliates, suppliers and customers by
committing the independent tort of trade libel as alleged above in order to discourage prospective
vendors, suppliers, affiliates, and customers from doing business with the Plaintiff.

74. Defendants’ actions resulted in Plaintiff losing prospective business relations with
customers, vendors, affiliates, and other associates that Plaintiff would not have lost were it not
for Defendants’ wrongful conduct and tortuous interference.

75. Plaintiff seeks to recover all damages proximately caused by this wrongful and
tortuous interference.

76. Additionally, Defendant, Tanya Howell in addition to Defendant, Jashin Howell
and Mark Beck has tortuously and wrongfully interfered with Plaintiff's prospective business

and contractual relations with vendors, affiliates, suppliers and customers by assuming the
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position of member of Defendant, Agents following Plaintiff, Felt’s intentionally wrongful
removal as a member from Defendant’ Agents.

77. |The Defendants’ actions and/or omissions have resulted in Plaintiff, Felt
sustaining financial harm and losing prospective business relations with customers, vendors,
affiliates, and other associates that Plaintiff, Felt would not have lost were it not for Defendants’
wrongful conduct and tortuous interference with Plaintiff, Felt’s role as a member in Defendant,
Agents.

78. The funds that Defendants, Jashin Howell and Mark Beck wrongfully refused to
forward funds otherwise owed to Plaintiff, Felt that were instead used by Defendants to launch
other business ventures, including Defendants, Heath and Wellness Solutions, Inc.and NLiten,
LLC, companies that are now in the business of selling nutritional products on the internet
similar or identical to plaintiff's products and in ways that would not have been possible absent
the wrongful withholding of funds by Defendants, of funds that were otherwise rightfully owed
to Plaintiff Felt.

79, Plaintiff seeks to recover all damages proximately caused by the wrongful and
tortuous interference of the Defendants.

COUNT VI
BUSINESS DISPARAGEMENT

80. Plaintiff repeats and re-alleges the allegations set forth above in paragraphs |
through 79 as ifthe same fully set forth at length herein.

81, | Upon information and belief, Defendants have published false, disparaging words
about Plaintiffs economic interests and status with malice and without privilege. Asa

proximate cause of these publications, Plaintiff has been economically and specially damaged.
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COUNT VIE
BREACH OF FIDUCIARY DUTY
AGAINST DEFENDANT, JASHIN HOWELL AND BECK

 

82. Plaintiff, Felt repeats and re-alleges the general allegations set forth in paragraphs
1 through 81 as if the same were fully set forth at length herein.

83. Atall times relevant hereto, Defendant, Jashin Howell and Beck were/are
managing members of Agents and LWL and were entrusted with managing member
responsibilities.

84. In respective writings, Defendants and/or their agents had, until the recent
improper removal of Plaintiff, Felt as a member of Agents, represented that Plaintiff, Felt had
been effectively elected as a member of Defendant, Agents and/or was entitled to the benefits
and privileges thereby conferred.

85. At all times relevant hereto, Defendants, Jashin Howell and Beck owed a
fiduciary duty to Plaintiff, Felt.

86. | Upon information and belief, Defendants, Jashin Howell and Beck have breach
their fiduciary duties, including by creating Defendant, Health and Wellness, Inc.and Defendant,
Nliten in order to divert customers to those companies that Defendant Jashin Howell and Beck
control and by conspiring with Defendant, Tanya Howell to improperly divert and/or transfer
rights and assets of Agents to themselves and/or to Defendant, Tanya Howell without paying fair
consideration to Plaintiff, Felt.

87. Upon information and belief, Defendants, Jashin Howell and Beck have breach
their fiduciary duties by forming Defendant, H& W and Defendant, Nliten and by diverting

Plaintiff's customers to those newly formed companies that Defendants, Jashin Howell and Beck
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control and from which said Defendants derive profits and other benefits to the detriment of
Plaintiff, Felt.

88. | Upon information and belief, Defendants, Jashin Howeil and Beck have breached
their fiduciary duties by conspiring with Defendant, Tanya Howell to improperly divert and/or
transfer rights and assets of Agents to themselves and/or to Defendant, Tanya Howell without
paying fair consideration to Plaintiff, Felt.

89. At all times relevant hereto, Defendants have engaged in dishonesty, incompetent
management and self-dealing and thereby breached their fiduciary duties through the improper
allocation of funds, improper distribution of funds, willful mismanagement and usurpation of
Agents and of valuable property belonging to Plaintiff, Feit.

90. Ataill times relevant hereto, Defendants have deprived Plaintiff, Felt of funds
owed to Plaintiff, Felt in order to meet their own expenses of doing business for their own
benefit.

91. The conversion, diversion and use of Plaintiff, Felt’s assets and the incurrence of
debt in said manner as described herein significantly impairs the financial worth of Agents and
of Plaintiff, Felt, served no legitimate business purpose.

92. These and other acts by Defendants have caused injury to Plaintiff's ownership
interests, profits, and property rights and significantly damaged Piaintiff’s reputation in the
community.

93. Said Defendants by reason of their intentional acts/omissions and/or by reason of
their incompetence have intentionally obstructed Plaintiff from the performance of essential

services to his customers.
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94. _ As fiduciaries, Defendant, Jashin Howell and Beck owed a duty of complete
candor, loyalty and fair dealing to Plaintiff. The respective defendants have breached said duties

as described above.

COUNT VIII
ACCOUNTING

95. Plaintiff, Felt, repeats and re-alleges the general allegations set forth in paragraphs
1 through 94 as though the same were fully set forth at length herein.

96. In respective writings, defendants and/or their agents have represented that
Plaintiff had been effectively elected a member of Agents and/or is entitled to the benefits and
privileges thereby conferred.

97. Atall times relevant hereto, Defendants owed a fiduciary duty to Plaintiff, Felt.

98. Plaintiff, Felt was induced by defendants to invest time and money and thereby
obtain an ownership interest in Agents.

99. These defendants have exclusive knowledge and control of the assets,
expenditures and transfers made by or in connection with Agents.

100. Upon information and belief, rights and or assets which should be joined in the
Agents have been diverted or transferred by the defendants without fair consideration.

101. Plaintiff has demanded disclosure of the various transactions conducted by
defendants. Defendants have failed and refused to disclose same.

102. Plaintiff lacks an adequate remedy at law.

103. An accounting is required to determine the further rights of the Plaintiff.

WHEREFORE, Plaintiff requests judgment against defendants for an accounting.
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PRAYER FOR RELIEF AS TO ALL COUNTS
WHEREFORE, as to all counts, Plaintiff respectfully request the Court enter final
judgment against Defendants, and in favor of Plaintiff for all of his actual damages, exemplary
damages, attorneys’ fees, prejudgment and post judgment interest, costs of court, and ail other
just relief, including but not limited to the following:

(a) That Defendants be required to pay Plaintiff actual damages and lost sales
suffered by Plaintiff by reason of Defendants’ illegal conduct, as weil as any profits of
Defendants that are attributable to Defendants’ unfair competition, dilution and cyber
squatting not taken into account in computing the actual damages;

(b) Exemplary and/or treble damages as determined at trial, which should be a
multiple of the actual damages;

(c)  <Attormeys’ fees and costs pursuant to 15 USC §1117.

(d) —_ All prejudgment and post judgment interest allowed by law or equity.

JURY DEMAND
Plaintiffs hereby demand a trial by jury of all issues so triable.
DATED this 9" day of May, 2006.

Respectfully submi

 

THADDEUS MARSHALL, ESQUIRE
FLORIDA BAR #: 801305

MARSHALL LAW GROUP, P.A.

601 CLEVELAND STREET, SUITE 360
CLEARWATER, FL 33755
ATTORNEY FOR PLAINTIFFS
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Corp. Name: LIFE WITHOUT LIMITSINC.

 

Domestic Address -

 

oe : 3363 N REYNOLDS: -
‘MESA, AZ 85215

 

Statutory Agent Information
_ Agent Name: TIM LIGGET
: Agent Mailing/Physical 4 Address:
3363 N REYNOLDS
“MESA, AZ $521 5

Agent Status: APPOINTED 02/22/2005 _
Agent Last Updated: 02/23/2006

 

Additional Corporate b Information
Corporation Type: BUSINESS |

 

Incorporation L Date: 02/22/2005 . Corporate Life Period: PERPETUAL

Domicile: ‘ARIZONA : mo ee “County: N MARICOPA ee

Approval Date: 02/22/2005 Original Publish Dates

Status: DELINQUENT PUBLICATION Status Date: 12/09/2008”
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Corp. Name: LIFE WITHOUT LIMITS INC. me errs een

Domestic Address
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— 3363 N N REYNOLDS _
MESA, AZ 85215

 

_ Statutory Agent Information —
Agent, Name: TIM LIGGET
Agent Mailing/Physical Address: “ee . vitae enema na
___ 3363 N REYNOLDS
MESA, AZ 85215

 

- _ Agent Status: APPOINTED ) 02/22/2005 -
Agent Last Updated: 02/23/2006

 

_ Additional Corporate Information

 

_ (Corporation Type: BUSINESS -
Incorporation Date: 02/22/2005 a _ ‘Corporate Life Period: PERPETUA AL nore
Domicile: ARIZONA oo County: MARICOPA. a
‘Approval Date: 02/22/2005 "Original Publish Date:
‘Status: DELINQUENT PUBLICATION _—‘Status Date: 12/0972005 ss—i—tCS~S
" Annual
Reports

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Arizona Corporation Commission

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‘File Number: L-1019298-3 - Check Corporate Status |

‘Corp. Name: AGENT'S ‘CHOICE, LLC

 

Domestic Address
2824 N POWER RD STE 1 13-377,
MESA, AZ 85215

 

Statutory Agent Information
_ Agent N ame: JASHIN HOWELL

 

ee Agent Mailing/Physical ‘Address:
2824 N POWER RD STE 1 13-377
_ MESA, AZ 85215

Agent Status: APPOINTED 02/1 5/2002 .
Agent Last Updated: 01/06/2006

 

 

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ee a a _ Officer and Director Information
Name: JASHINL HOWELL —
Title: MEMBER

“Address: 110 E ELLIS DR
| TEMPE, AZ 85282-
Date Assigned: 02/15/2002 ‘Last Updated: 03/01/2002 _

Name: TANYA HOWELL
tee ee ee
Address: 2824 N POWER RD #1 13-337

_MBSA, AZ 85215

Date Assigned: 10/11/2005 _ Last Updated: 10/21/2005 -

 

 

_ Additional Corporate Information

‘Corporation Type: DOMESTIC LLL. Cc.

 

 

 

 

Incorporation Date: a . Corporate Life Period: PERPETUAL —
Domicile: ARIZONA _ County: MARICOPA
‘Approval Date: 02/15/2002 Original Publish Date: 07/01/2002
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Amendments

    

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2-0306-043-026 07/01/2002 PUBLICATION OF ARTICLES OF ORGANIZATION |
1-1731-029-005 10/11/2005 AMENDMENT ue - , |

 

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Arizona Corporation Commission

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File Number: R-1240483-4 | Check Corporate Status {

‘Corp. Name: HEALTH AND WELLNESS SOLUTIONS, LLC

 

Domestic Address oo oo
"2824 N POWER #113- 137
MESA, AZ 85215

Foreign Address _ —
- 2575 EB CAMELBACK #412 | |
PHOENIX, AZ 85016

Statutory Agent Information
_ Agent t Name: JASHIN HOWELL

__ Agent Mailing/Physical Address:
_ 2824.N POWER #113-137_
_MESA, AZ 85215 7

| Agent Status: APPOINTED 11/07/2005
Agent Last Updated: 11/15/2005

 

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_ Officer and Director Information
. ‘Name: JASHIN L HOWELL ©
=) - . Title: MEMBER _
ces address: 2824. N POWER 4113-377 |
" "MESA, AZ 85214
"Date Assigned: 11/07/2005 — "Last Updated: 11/15/2005

Name: MARK J BECK”
‘Tide: MEMBER, ”
Address: 190 QUAIL WY

~ LOGAN, UT 84321
' Date Assigned: 11/07/2005 Last Updated: 11/15/2008

 

 

Additional Corporate Information
: Corporation Type: FOREIGN L. L. Cc.
Incorporation Date: 11/07/2005 _ ‘Corporate Life Period:

 

 

Domicile: UTAH County: MARICOPA °
Approval Date: 11/07/2005 Origin al Publish Date:
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mate, thes the Getkiears nene adopted for use by the Eocied Lxbiiry company io

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Zz ‘The company is crpanined under the laws of: Used,

 

3. The date ofthe company's formation is:

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” ‘The parpose of the compeay or the yenered character of business it proposes to Lemar
30 Arizoaa k .

 

 

5. ‘The name 2ad sueet address of the stetutacy agcal foe the foecign Emited balrisy

Basten Pinel

 

 

 

 

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Arizona Corporation Commission

 

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File Number: L-1254099-0 _ | OS _Check Corporate Status |

‘Corp. Name: NLITEN INTERNATIONAL, LLC —— | Oo —
Domestic Address

_2824N POWER #113-377
MESA, AZ 85215

 

_ Statutory Agent Information
_ Agent Name: _JASHIN HOWELL

: _ Agent : Mailing/Physical / Address:

2824 N POWER #113- 377

_ MESA, AZ 85215

Agent Status: APPOINTED 03/31/2006
Agent Last Updated: 04/10/2006

 

 

 

 

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Officer and Director Information
‘Name: BRIGHT IDEA FARM LLC
“Title: ‘MEMBER
Address: 2079 N POINTE ALEXIS _
“TARPON SPRINGS, FL 34689
Date Assigned: 03/31/2006 - Last ‘Updated: 04/ 10/2006
- Name: FIVE WORD INC
Title: MEMBER
_ Address: 2533 N CARSON ST #6162.
‘CARSON CITY, NV 89706
"Date Assigned: 03/3 1/2006 _Last Updated: 04/ 1 0/2006 _
_ Oo - _N ame: LIFE WITHOUT LIMITS INC -_
Title: ‘MEMBER
Address: 2533 N CARSON ST #6162
; “CARSON CITY, NV 89706 _
Date Assigned: 03/31/2006 - Last Updated: 04/ 10/2006
_ Additional Corporate Information
- Corporation ‘Type: DOMESTIC LL.C. -
Incorporation Date: 03/3 1/2006 Corporate Life Period: PERPETUAL —
Domicile: ARIZONA County: MARICOPA
‘Approval Date: 03/31/2006 Original Publish Date:
Annual Reports
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Agenf’s Choice LLC DBA Marqj Fitness Members
Apreement :

Agreement dated this 16 March, 2005, between Life Without Limits, Inc,

{hereinafter ““LWL™) located at 2624 N. Power Rd Ste W113 PMB 377,

Mesa, AZ, 852]5 and Brock Felt located st 207 S. Bisston, Tarpon -

Springs, BI. 34689 (hereinafter “BE"}, and Mark Beck. (hereinafier MB") . ,
located at 190 Quail Way Logan, Utah 84321. - ‘

NOW THEREFORE, IN CONSIDERATION OF the mutual promises
contained herein, “LWL”, “BF”, and "MB" agrec as follows:

I General Terms

Are jointly going to own and operate Agent's Choice, LLC DBA Margi’:
Fitness (hereafter “MF™). Business activities will include providing
nutritional supplements, fimess equipment, firess profiles and programs,
educational forums for healthy living, and a member's site for 2 community :
of like minded health conscious individuals.

1 “LWL” Responsibilitizs’

“LWE” will provide al] dusinsss eccounts, legal contracts, tax and. .
accounting, aud investment vpportunitics. “LWL"” will also seck to Gnd
ahd create content for tho websites and assist in any capacity disected by the
members. Assist in developing or finding 2” end 3” level products,

I = “BF” Responsibilities

“BE” will provide the macketing and advertising of “MF”, Le. intemet
raketing, website construction, copywriting, hosting and technical SUpPONt
and adveriising expenditures necessary to markrt said products, .

Iv “BY Responsibilities

“MB” will provide the! contacts for the Lab, Bio-Chemist, Europe and |
Foreign markets. “MB” will also assist in creating content for the websites
ang assist in any other capacity directed by the members Develop 2™ and
3 level products. ‘ .

‘¥ Geueral Release

AU partics agree that “WL”, “BE”, and “MB” chall have no Jiability for
any acts or omissions of cach individual member and shall indetonify such Sa
parties from. any and wll shims that may arise from thelr business.

  
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VI Notice

Any notice shall $e deemed to be flilly given, if in writing and mailed by
cena mail, yehim receipt requested, to the other party at the address
speci ‘ . . ‘ ,

VIL Entire Agreement ~ This Agreement contains the entire agreement
ofthe parties.
“VAT Confidentiality
See the Addendum #1
xX Ownership
> “BF 60%

“LWL? 20%
» “MB” 20%

X Governing Laws
This Agreement, the sights and obligations of the parties under this
Agreement shall be governed by and coustitied in accordance with the laws
of the State of Anzons. All parties agree to jotisdiction in the State of —
Arizona, Maricopa County. All parties agree to binding arbitration in lieu
of coun proceedings. The prevailing patty will be entitkd to al) costs
associated with enforcing this agreement. ,

     

 

Y: JashinHowell a BY: Brock Felt

BY: Beek.

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to any of “BFs Confidential information; or (iv) information which Disclosee
reasonably demonstrates has become generally known in the trade or by the public cither
prior to or subsequent to “BF™'s disclosure hereunder through no fault of Disclosee.

2. Nondisclosure. Discloses agrees to hold the Confidential Information in strict
confidence and not to (a) disclose the Confidential Information to any thitd parties, (b)
uss the Confidential Information for any commercial purposes without the prioy written
pemission of “BF”, (c) use the Confidential Information for the benefit of anyone other

PAGE a4

than “BF”; or { d) otherwise use the Confidential Information in a manner-detrimental-to”.. -.--

“BF", Disclosee shall take commercially reasonable security precautions to prevent
wrongful disclosure or use of the Confidential Information. Disclosce may disclose the
ConGdential Information to its authorized employees only on a need-to-know basis
provided that the authorized employee agrees in wziting not io disclose such Confiderstin!
Information to any third parties. Disclosee understands that all Confidential Information
is important, unique, and materially affects “BF"'s goodwill and success in condubting its
business activities. 7

3. Copies Disclosce agrecs that it will not make copies of any documents containing
Confidential Information, except on a nead-ta-know basis. Discloses willot

ditazse" MB" le or reverse engineer any materials, items, products provided to it by or on
bebalfaf “BF".

4. Notice of Misanropriation, Disclosee will proorptly inform “BF” in writing of any
miiseppropriation, unauthorized use, or disclosure of the Confidential Information and
wil] cooperate with “BF” in every reasonable way to prevent further disclosure and tu
Tegain possession of the misappropriated Confidential Information.

5. No License, Disclossc recognizes and agrees that "BF" is the sole owner of its
Confidential Information and that nothing contained in this Agresmendt shall be construed
a$ granting any tights, by licenss or otherwise, to Disclosee with respect to lhe =

_ Confidential Information or other information or materials disclosed to Disciosce.

oa

6. General Provisions. A waiver by “BF” of a breach of any term or condition of this
Agreement shall not constitute a waiver of any further breach of a term or conditidn of —
this Agreement and no such waiver shail be effective unless in writing signed by all
parties, This Agreement contains the entire agreement and supersedes all prior
agreementa and negotiations relating to the subject matter of this Agreement, whether
oral or waite, between the parties. No prousisc, representation, warranty, or covenant
not included in this Agreement has been or is relied upon by either party, Each patty has _
relied upon its own examination of the fall Agreement and the provisions thereof, 2nd the

“ waryanties, represcntations, and covenanis expressly contained in the Agreement itself.

No modification or amendment of this Agrecunent shall be of any force or cffcct wiless in
writing executed by both the parties. This Agreement shall be construed in accordance
with and its performance shall be governed by the laws of the Stato of Arizona,
notwithstanding the choice of lew rules of such State. If anyone or morc provisions of
this Agreement shall be found to be iHegal or unenforceable in any respect, the validity,
legality, and enforceability of the remaining provisions sha!) not in any way be affected
of impaired thereby. The paragraph headings used herein are for the convenience of the
parties and shall not be deemed to modify or construc the provisions hereof. If eitticr
party defaults in the performance of its obligations under this Agreement, then the

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Case 8:06-cv-00867-EAK-MAP Document1 Filed 05/09/06 Page 35 of 36 5 PagelD 35

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defaulting pany agrees io pay reosonable costs end attomeys! fees t enforces this
Agresitent, This Agreement shal} be binding upon and shall imire to the benefit of the
heirs and personal representatives and/or the successors and assigns of the parties. Both
parties shal! not assign this Agreement in whole or in part without the prior written’
consent of the other party. .

WEINESS WHEREOF, the parties herete have caused this Agrecsnent to be duly
execated as of the Effective ‘Date, ,

Elective. Date: 21st day of Masch, 2005 - iva retroactive to previous meetings and
communications)

 
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| Arizona Corporation Commission
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Corporate Inguiry

File Number: L-1019298-3
Corp. Name: AGENTS CHOICE GLASS LLC

 

Domestic Address

51 W 3RD ST #201
TEMPE, AZ 85281

Statutory Agent Information

Agent Name: JASHIN HOWELL
, ent Mailing/Physical Address: |

110 E ELLIS DR

TEMPE, AZ 85282
[ Agent Status: APPOINTED 02/15/2002

| Agent Last Updated: 02/26/2002

  
      
        
   
  
     
    

  

 

  

 

Officer and Director Information

| oo a Name:JASHINL HOWELL —S—SS~=SY
[MEMBER

 

 

 

MEMBER

| Address://110 E ELLIS DR. |

{TEMPE, AZ 85282-__~.

Date Assigned: 02/15/2002 _ [Last Updated: 03/01/2002 ~ |

 

 

 

 

 

 

 

 

 

 

 

 

| Name:|BROCK AFELT _ ~
| Title: |MEMBER |
| _ Address:|[750 W BASELINE RD |

[ — ___ |{TEMPE, AZ 85283 |

 

 

 

 

  
 

[ Date Assigned: 02/15/2002 [Last Updated: 02/26/2002 - ~ |

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